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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                Filed: November 15, 2018




Mr. Bret Jacob Chaness
Rubin Lublin
3145 Avalon Ridge Place
Suite 100
Peachtree Corners, GA 30071

Mr. Edward Faria
2479 Murfreesboro Road
Unit 507
Nashville, TN 37217

                     Re: Case No. 18-5528, Edward Faria v. Rubin Lublin TN, PLLC
                         Originating Case No. : 3:17-cv-00903

Dear Mr. Faria and Counsel:

  The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/Karen S. Fultz for Jill Colyer
                                                Case Manager
                                                Direct Dial No. 513-564-7024

cc: Mr. Keith Throckmorton

Enclosure

Mandate to issue




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               NOT RECOMMENDED FOR FULL-TEXT PUBLICATION

                                           No. 18-5528

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT                              FILED
                                                                                Nov 15, 2018
                                                                           DEBORAH S. HUNT, Clerk
EDWARD FARIA,                                            )
                                                         )
       Plaintiff-Appellant,                              )
                                                         )   ON APPEAL FROM THE UNITED
v.                                                       )   STATES DISTRICT COURT FOR
                                                         )   THE MIDDLE DISTRICT OF
RUBIN LUBLIN TN, PLLC,                                   )   TENNESSEE
                                                         )
       Defendant-Appellee.                               )


                                               ORDER


       Before: CLAY, GILMAN, and WHITE, Circuit Judges.


       Edward Faria, proceeding pro se, appeals a district court order granting a motion to
dismiss his complaint, filed pursuant to the Fair Debt Collection Practices Act (“FDCPA”),
15 U.S.C. § 1692 et seq.       This case has been referred to a panel of the court that, upon
examination, unanimously agrees that oral argument is not needed. See Fed. R. App. P. 34(a).
       Faria filed this action in a Tennessee state court, alleging that Defendant violated the
FDCPA when it notified him that it was instituting a foreclosure action on his real property.
Defendant removed the action to the federal district court and filed a motion to dismiss the
complaint for failure to state a claim, pursuant to Federal Rule of Civil Procedure 12(b)(6). A
magistrate judge recommended that the motion be granted. Over Faria’s objection, the district
court adopted that recommendation. The court also denied Faria’s motion for reconsideration, in
which he asserted new evidence that Defendant had also filed a notice of claim in his bankruptcy
proceeding.




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       In his brief on appeal, Faria asserts that Defendant is a debt collector as defined in the
FDCPA. He also argues that Defendant failed to submit affidavits or declarations as required by
Federal Rule of Civil Procedure 56(c)(4).
       A complaint is properly dismissed under Rule 12(b)(6) where it does not contain
sufficient facts to state a claim to relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009). To state a claim under the FDCPA, Faria was required to plead facts that
demonstrate that Defendant is a debt collector as defined in that act. See Bridge v. Ocwen Fed.
Bank, FSB, 681 F.3d 355, 366 (6th Cir. 2012). A defendant is not considered a debt collector
under the Act if the debt was not in default when it was obtained by the defendant. Glazer v.
Chase Home Fin. LLC, 704 F.3d 453, 457 (6th Cir. 2013); Wadlington v. Credit Acceptance
Corp., 76 F.3d 103, 106 (6th Cir. 1996). Faria’s complaint contains no facts to indicate that
Defendant obtained his debt after it was in default. His brief on appeal likewise only makes the
conclusory assertion that Defendant is a debt collector under the FDCPA without providing any
factual support for that legal conclusion. Accordingly, Faria has failed to allege a plausible
FDCPA claim.
       Faria also argues that Defendant failed to submit any affidavits or declarations as
required by Federal Rule of Civil Procedure 56(c)(4). However, Defendant did not move for
summary judgment under Rule 56—Defendant moved to dismiss the complaint under Federal
Rule of Civil Procedure 12(b)(6) for failure to state a claim. A motion to dismiss for failure to
state a claim is reviewed only on the allegations contained in the complaint.              Seaton v.
TripAdvisor LLC, 728 F.3d 592, 596 (6th Cir. 2013).
       Because Faria’s arguments on appeal are without merit, we AFFIRM the district court’s
order dismissing his complaint for failure to state a claim.


                                               ENTERED BY ORDER OF THE COURT




                                               Deborah S. Hunt, Clerk



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